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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 TAMIKA DALTON                                           )
                                                         )
           Plaintiff,                                    )     Case: 1:23-cv-01793
                                                         )
 v.                                                      )
                                                         )
 SWEET HONEY TEA, INC.,                                  )
                                                         )
           Defendant.                                    )     Jury Trial Demanded
                                                         )


                                           COMPLAINT

       Plaintiff, Tamika Dalton(“Plaintiff”), by and through the undersigned counsel, hereby

files this Complaint against Sweet Honey Tea, Inc. (“Defendant”), and in support states as

follows:

                              NATURE OF PLAINTIFF’S CLAIMS

       1.        This lawsuit arises under the Title VII of the Civil Rights Act of 1964, as amended,

42 U.S.C. §2000e et seq. (“Title VII”) for Defendant’s sex-based discrimination against Plaintiff

and for subjecting Plaintiff to sexual harassment in violation of Title VII.

       2.        Moreover, this lawsuit also arises under (775 ILCS5/) Illinois Human Rights Act

(“IHRA”) for Defendant’s sex-based discrimination against Plaintiff and for subjecting Plaintiff

to sexual harassment in violation of IHRA.

                                      JURISDICTION AND VENUE

       3.        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1331. This action

is authorized and instituted pursuant to the Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§2000e-5 et seq.
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       4.      Venue of this action properly lies in the Northern District of Illinois, Eastern

Division, pursuant to 42 U.S.C. §2000e-5(f)(3) and 28 U.S.C. §1391(b) insofar as Defendant

operates and transacts business in this judicial district and the events giving rise to Plaintiff’s

claims occurred within this District.

       5.      Count III and IV have pendent jurisdiction and supplementary jurisdiction through

28 U.S.C. Section 1367.

                               ADMINISTRATIVE PREREQUISITES

       6.      All conditions precedent to jurisdiction under § 706 of Title VII, 42 U.S.C.

§2000e-5, have occurred or been complied with.

       7.      A charge of employment discrimination on basis of sex and retaliatory discharge

was filed by the Plaintiff with the Equal Employment Opportunity Commission (“EEOC”) and

Illinois Department of Human Rights (“IDHR”). (Attached hereto as Exhibit “A”).

       8.      Plaintiff received a Notice of Right to Sue from the EEOC (attached hereto as

Exhibit “B”), and Plaintiff filed this lawsuit within ninety (90) days of his receipt of the EEOC’s

Notice of Right to Sue.

                                                   PARTIES

       9.      At all times material to the allegations of this Complaint, Plaintiff, Tamika Dalton

resides in Cook County in the State of Illinois.

       10.     At all times material to the allegations in this Complaint, Defendant, Sweet Honey

Tea, Inc. is a corporation doing business in and for Cook County whose address is 7601 S. Cicero

Avenue Chicago, IL 60652.

       11.     Plaintiff was employed by Defendant as an “employee” within the meaning of 42

U.S.C §2000e(f).



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        12.     During the applicable limitations period, Defendant has had at least fifteen

employees, has been an “employer” as defined by Title VII, and has been engaged in an industry

affecting commerce within the meaning of Title VII, 42 U.S.C. § 2000e(b).

        13.     For the purposes of establishing the required number of employees, Defendant

operates multiple Sweet Honey Tea locations, which in total has more than 15 employees.

                                        BACKGROUND FACTS

        14.     Plaintiff was hired at Sweet Honey Tea, as a Cashier on or about August 1, 2022.

        15.     Plaintiff was subjected to sex discrimination and sexual harassment to the point that

Plaintiff reported it to the Owner, Darrell Deshazer multiple times.

        16.     Owner Darrell not only ignored Plaintiff’s complaints of sexual harassment, but

due to the Owner’s failure to investigate or take remedial measures Plaintiff was constructively

discharged.

        17.     Shortly after Plaintiff began to work for Sweet Honey Tea, Plaintiff noticed there

was another employee, Eric (last name unknown) whom Owner, Darrell Deshazer, allowed to help

out in exchange for food and money.

        18.     Eric began to sexually harass Plaintiff from the moment we first met.

        19.     Eric followed Plaintiff around everywhere she went, and would look Plaintiff up

and down and say, “Let me take you out”, “Your ass is so fat”, “Let me take you out drinking”.

        20.     These sexual advances by Eric made Plaintiff extremely uncomfortable and unsafe

at work.

        21.     On or about September 7, 2022, Plaintiff reported the unwanted sexual harassment

by Eric, and how unsafe Eric made Plaintiff feel at work, especially when Plaintiff was left alone

with Eric at the store.




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        22.      Again, Owner Darrell did not investigate or take any remedial measures to stop

Plaintiff from being subjected to sexual harassment.

        23.      Due to Owner Darrell failure to act, the sexual harassment continued and became

more severe.

        24.      On or about October 1, 2022, Eric came into work intoxicated, and began sexually

harassing Plaintiff by making sexual advances towards Plaintiff and making sexual comments to

Plaintiff.

        25.      Eric walked up to Plaintiff and got close to Plaintiff’s face and said, “Your pussy

is so fat”, and then he tried to touch Plaintiff’s body.

        26.      Plaintiff immediately told Owner Darrell.

        27.      Plaintiff conveyed to him that Eric refuses to leave her alone, and Plaintiff seriously

feared for her safety.

        28.      Darrell sent Eric home because he was drunk but failed to address that he was

sexual harassing me.

        29.      Later that night Eric came back up to the store at about 1:00 A.M. when Plaintiff

was closing.

        30.      Eric was violently banging on the door and shouting at Plaintiff to let him in.

        31.      Plaintiff was terrified and called security.

        32.      Once Security arrived, Plaintiff asked that they walk her to her car because she did

not feel safe.

        33.      Owner Darrell allowed Eric back to work and Plaintiff in fear of her safety had the

option to be subject to sexual harassment and sexual assault or be constructively discharged

because the Owner failed to take any remedial measures to ensure my safety and a workplace free




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from sexual harassment.

       34.      Therefore, due to Owner Darrell failure to act, the conditions at the job became

some intolerable that Plaintiff was constructively discharged.

       35.      Plaintiff suffered multiple adverse employment actions including, but not limited

to being terminated.

       36.      There is a basis for employer liability for the sexual harassment that Plaintiff was

subjected to.

       37.      Plaintiff can show that she engaged in statutorily protected activity –a necessary

component of her retaliation claim- because Plaintiff lodged complaints directly to her manager

about the harassment.

       38.      Defendant claims that Plaintiff is an independent contractor, however the economic

reality test will show that Plaintiff is an employee.

       39.      Defendant’s misclassification of employees as independent contractor is unlawful.

       40.      Plaintiff does a specific job which is an integral part of the business of Defendants.

       41.      Plaintiff was required to sign an agreement with Defendants, which resembled

responsibilities and requirements to be an employee of the company.

       42.       In the performance of their work for Defendants, Plaintiff did not exercise the

skill and initiative of persons in business for themselves.

       43.       Plaintiff did not exercise managerial skill that affects the Plaintiff’s economic

success or failure in performing the work.

       44.       Plaintiff were not required to have any specialized or unusual skills to work for

Defendants other than what was required of the particular position as a computer technician.

       45.       No prior similar work experience was required and Plaintiff were not required to




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attain a certain level of skill in order to perform such work.

       46.       Plaintiff did not have the opportunity to exercise the business skills and initiative

necessary to elevate their status to that of an independent contractor. Plaintiff owned no enterprise

and exercised no business management skills in performing work for Defendants.

       47.       Plaintiff maintained no separate business structures or facilities in performing

work for Defendants.

       48.       Plaintiff exercised no control over customer volume and did not actively

participate in any effort to increase the Defendants’ client base, enhance goodwill, or establish

contracting possibilities.

       49.       Plaintiff were not permitted to hire or subcontract other qualified individuals to

conduct work in Defendants’ business.

       50.       Plaintiff had no investments when compared to the investment made by

Defendants.

       51.       Plaintiff made no capital investment in Defendants’ business. All investment and

risk capital was provided by Defendants.

       52.       Plaintiff had no control over the key determinants of profit and loss of a

successful enterprise. Specifically, Plaintiff were not responsible for any aspect of the enterprise’s

on-going business risk.

       53.       Plaintiff, and those similarly situated to them, were essential to Defendants’

business operations.

       54.       Plaintiff’ duties were integral to Defendants’ ability to provide service to their

customers.

       55.       During their employment by Defendants, Plaintiff were economically dependent



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on Defendants.

                                               COUNT I
                         Violation of Title VII of the Civil Rights Act of 1964
                                         (Sexual Harassment)

       56.     Plaintiff repeats and re-alleges paragraphs 1-55 as if fully stated herein.

       57.     By virtue of the conduct alleged herein, Defendant engaged in unlawful

employment practices and harassed the Plaintiff on the basis of her sex, female, in violation of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

       58.     Defendant knew or should have known of the harassment.

       59.     The sexual harassment was severe or pervasive.

       60.     The sexual harassment was offensive subjectively and objectively.

       61.     Plaintiff is a member of a protected class under Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e, et seq., due to her sex, female.

       62.     Defendant acted in willful and reckless disregard of Plaintiff’s protected rights.

       63.     As a direct and proximate result of the sexual harassment described above, Plaintiff

has suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation and loss of

enjoyment of life.

                                           COUNT II
                      Violation of Title VII of the Civil Rights Act of 1964
                     (Sex-Based Discrimination – Constructive Discharged)

       64.     Plaintiff repeats and re-alleges paragraphs 1-55 as if fully stated herein.

       65.     By virtue of the conduct alleged herein, Defendant intentionally discriminated

against Plaintiff based on her sex, in violation of Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §2000e, et seq.




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       66.     Due to Defendant’s treating Plaintiff less favorably than similarly situated

employees outside her protected class, and Defendant’s effectively creating intolerable conditions

of work due to the sexual harassment, Plaintiff was constructively discharged.

       67.     Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless violation

of Title VII of the Civil Rights Act of 1964.

       68.     Defendant acted in willful and reckless disregard of Plaintiff’s protected rights.

       69.     As a direct and proximate result of the discrimination described above, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation and loss of

enjoyment of life.

                                          COUNT III
             Violations of the Illinois Human Rights Act (775 ILCS 5/) (“IHRA”)
                    (Sex-Based Discrimination – Constructive Discharged)

       70.     Plaintiff repeats and re-alleges paragraphs 1-55 as if fully stated herein.

       71.     By virtue of the conduct alleged herein, Defendant intentionally discriminated

against Plaintiff based on her sex, in violation of Illinois Human Rights Act (775 ILCS5/).

       72.     Due to Defendant’s treating Plaintiff less favorably than similarly situated

employees outside her protected class, and Defendant’s effectively creating intolerable conditions

of work due to the sexual harassment, Plaintiff was constructively discharged.

       73.     As a direct and proximate result of the discrimination described above, Plaintiff has

suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation and loss of

enjoyment of life.

       74.     Defendant’s conduct toward Plaintiff illustrated a willful and/or reckless violation



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of Illinois Human Rights Act (775 ILCS5/).

                                              COUNT IV
                       Violation of the Illinois Human Rights Act, 775 ILCS5/
                                         (Sexual Harassment)

       75.     Plaintiff repeats and re-alleges paragraphs 1-55 as if fully stated herein.

       76.     Plaintiff is a member of a protected class under 775 ILCS5/, Illinois Human Rights

Act, due to her sex, female.

       77.     By virtue of the conduct alleged herein, Defendant engaged in unlawful

employment practices and harassed the Plaintiff on the basis of her sex, female, in violation of the

Illinois Human Rights Act, 775 ILCS5/.

       78.     Defendant knew or should have known of the harassment.

       79.     The sexual harassment was sever or pervasive.

       80.     The sexual harassment was offensive subjectively and objectively.

       81.     Defendant acted in willful and reckless disregard of Plaintiff’s protected rights.

       82.     As a direct and proximate result of the sexual harassment described above, Plaintiff

has suffered and continues to suffer loss of employment, loss of income, loss of other employment

benefits and has suffered and continues to suffer mental anguish, distress, humiliation and loss of

enjoyment of life.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

                       a.      Back pay and benefits;

                       b.      Interest on back pay and benefits;

                       c.      Front pay and benefits;

                       d.      Compensatory damages for emotional pain and suffering;




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                      e.     Pre-judgment and post-judgment interest;

                      f.     Injunctive relief;

                      g.     Liquidated damages;

                      h.     Punitive damages;

                      i.     Reasonable attorney’s fees and costs; and

                      j.     For any other relief this Court may deem just and equitable.

                                DEMAND FOR JURY TRIAL

        Plaintiff hereby requests that all issues be submitted to and determined by a jury.

Dated this 22nd day of March, 2023.

                                             /s/ Nathan C. Volheim
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